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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION


EDINBURG ECONOMIC               §
DEVELOPMENT CORPORATION         §
                                §
vs.                             §                Cause No. 21-CV-00454
                                §
DAN DAMON, INDIVIDUALLY         §
AND IN HIS REPRESENTATIVE       §
CAPACITY AS TRUSTEE OF          §
THE DAN AND JACKIE DAMON FAMILY §
TRUST UDT AUGUST 17 1999;       §
JACKIE DAMON, INDIVIDUALLY      §
AND IN HER REPRESENTATIVE       §
CAPACITY AS TRUSTEE OF          §
THE DAN AND JACKIE DAMON FAMILY §
TRUST UDT AUGUST 17 1999; AND   §
EDINBURG PLAZA, LLC             §


                 DEFENDANTS’ RULE 26(A)(1) INITIAL DISCLOSURES

       In accordance with Rule 26(a)(1) of the Federal Rules of Civil Procedure,

Defendants Dan Damon Individually and in his representative capacity of the Dan and

Jackie Damon Family Trust UDT August 17, 1999, Jackie Damon Individually and in her

representative capacity of the Dan and Jackie Damon Family Trust UDT August 17, 1999

and Edinburg Plaza, LLC , respectfully makes their mandatory disclosures as follows:

A.     Witnesses

       The name and, if known, the address and telephone number of each
       individual likely to have discoverable information that the disclosing party
       may use to support its claims or defenses, unless solely for impeachment,
       identifying the subjects of the information.

       RESPONSE:
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      Persons likely to have discoverable information may include, but may not be
      limited to the following:

      Dan Damon
      P.O. Box 480
      La Quinta, CA 92247
      Physical address: 49491 Wayne St. Indio, CA 92201
      323-821-4737

      Jacqueline Damon
      P.O. Box 480
      La Quinta, CA 92247
      Physical address: 49491 Wayne St. Indio, CA 92201
      909-518-6661

      Edinburg Economic Development Corporation
      415 W University Dr, Edinburg, TX 78539
      956-388-8207

      Augustin “Gus” Garcia, Jr.
      415 W University Dr, Edinburg, TX 78539
      956-388-8207
      Former Direct of Edinburg Economic Development Corporation at the time of the
      sale of the referenced real estate

      Varco Trenton Plaza, LLC
      222 N. Expressway
      Brownsville, Texas 78521
      Purchaser of the referenced real estate

      Edwards Abstract & Title Company
      3111 W. Freddy Gonzalez Dr.
      Edinburg, Tx 78539
      956-383-3951
      Performed closing of the referenced real estate transaction.

B.    Documents

      A copy of, or a description by category and location of, all documents,
      electronically stored information, and tangible things that are in the
      possession, custody, or control of the party and that the disclosing party may
      use to support its claims or defenses, unless solely for impeachment.

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      RESPONSE:

      Defendants references any and all documents produced or to be produced by
      Plaintiff.

      Other than documents already produced, Defendant has produced all documents
      in support of their defenses to Plaintiff.


C.    Computation of Damages

      A computation of any category of damages claimed by the disclosing party,
      making available for inspection and copying as under Rule 34 the
      documents or other evidentiary material, not privileged or protected from
      disclosure, on which such computation is based, including materials bearing
      on the nature and extent of injuries suffered.

      RESPONSE: NONE

D.    Insurance Agreements

      For inspection and copying as under Rule 34 any insurance agreement
      under which any person carrying on an insurance business may be liable to
      satisfy party or all of a judgment which may be entered in the action or to
      indemnify or reimburse for payments made to satisfy the judgment.

      RESPONSE: NONE


DATED:      February 9, 2022
                                       Respectfully submitted,

                                       SALINAS FLORES
                                       2011 N. CONWAY AVE
                                       MISSION, TX 78572
                                       Tel: (956) 584-3900
                                       Fax: (956) 580-9688

                                       By: /s/Ricardo L. Salinas
                                       Ricardo L. Salinas
                                       Federal Bar No. 19693
                                       rsalinaslaw@yahoo.com
                                       Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of a duplicate of the above and
foregoing Rule 26(a)(1) Initial Disclosures of Plaintiff Elizabeth A. Gilmore has been served
upon all opposing parties, or their attorneys of record, by either certified mail, return
receipt requested, hand delivery, or telephonic or electronic document transfer on the 9 th
day of February, 2022.

Omar Ochoa, oochoa@omarochoalaw.com


                                           /s/Ricardo L. Salinas
                                           Ricardo L. Salinas




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